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 3
 4                               UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                 Case No. 2:10-cr-00578-PMP-GWF
                                               )
 9   vs.                                       )                 ORDER
                                               )
10   LINDA LIVOLSI,                            )
                                               )
11                     Defendant.              )
     __________________________________________)
12
13            This matter comes before the Court on the Government’s Motion for Order to Show Cause
14   (#98), filed on October 23, 2013. The previous magistrate judge in this case entered an Order to
15   Show Cause (#40) as to RGM Enterprises, LLC (“RGM”) on November 17, 2011, and conducted a
16   show-cause hearing on November 20, 2011. See Minutes of Proceedings, Doc. #41. RGM did not
17   attend the hearing. Id. RGM submitted documentation on December 7 and December 15, 2011
18   detailing health conditions that prevented Defendant Livolsi, RGM’s representative, from attending
19   the hearing. See Docs. #43, 44. The previous magistrate indicated the hearing would be reset at a
20   later date. On November 21, 2012, Livolsi filed a Status Report (#77) indicating that her health
21   problems had subsided. This case was reassigned to the undersigned on January 24, 2013.
22            IT IS HEREBY ORDERED that the Government’s Motion for Order to Show Cause
23   (#98) is granted.
24   ...
25   ...
26   ...
27   ...
28   ...
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 1          IT IS FURTHER ORDERED that RGM Enterprises, LLC appear before this Court in the
 2   District of Nevada, Courtroom 3A on November 7, 2013 at 9:30 AM, to show cause why it should
 3   not be held in civil contempt.
 4          DATED this 24th day of October, 2013.
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 6                                             ______________________________________
                                               GEORGE FOLEY, JR.
 7                                             United States Magistrate Judge
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